Order Form (01/2005)
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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge         Charles R. Norgle         Sitting Judge if Other
        or Magistrate Judge                                    than Assigned Judge

   CASE NUMBER                       09 CR 230 - 1&2                      DATE                      3/25/2009
            CASE                      Untied States of America vs. Marwan Atieh and Ruwaida Dabbouseh
            TITLE

  DOCKET ENTRY TEXT

  The order which required this case to be suppressed is vacated. Arraignment held. Defendants enter a plea
  of not guilty as to all counts. 16.1 conference to be held within 21 days. Pretrial motions are due 4/29/2009.
  Government is given 14 days to respond to any motions and the defendants are given 7 days to file any reply.
   Status hearing is set for 4/29/2009 at 10:00 a.m. Defendants’ presence is waived. In the interest of justice,
  time is excluded until 4/29/2009. (X-T)


                                                                                                             Docketing to mail notices.

  00:20




                                                                                       Courtroom Deputy                  EF
                                                                                                 Initials:




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